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                         IN THE UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF INDIANA
                                 INDIANAPOLIS DIVISION

 IN RE: COOK MEDICAL, INC., IVC FILTERS
                                                          Case No. 1:14-ml-2570-RLY-TAB
 MARKETING, SALES PRACTICES AND
                                                                            MDL No. 2570
 PRODUCTS LIABILITY LITIGATION

 This Document Relates to Plaintiff:
 JACK SWEAT
 Civil Case #1:20-cv-529


                   MOTION TO SUBSTITUTE PARTY PLAINTIFF


       COMES NOW, Plaintiff Jack Sweat and files this motion to substitute the executor of his

estate, Susan Armstrong, as the proper plaintiff pursuant to Federal Rule of Civil Procedure

25(a)(1). In support therefore, Plaintiff respectfully shows the court the following:

       1. Plaintiff Jack Sweat filed the present action in the United States District Court of the

           Southern District of Indiana on February 17, 2020.

       2. Plaintiff Jack Sweat died on July 14, 2020.

       3. On July 21, 2022, Plaintiff filed a suggestion of death pursuant to Federal Rule of Civil

           Procedure 25(a). See Doc. No. [22400] and Doc. No. [9]. Plaintiff’s counsel recently

           learned of the death of Mr. Sweat after filing the lawsuit and contacting his niece.

       4. Susan Armstrong, niece and now sole-personal representative of the estate of Jack

           Sweat, is the proper party plaintiff to substitute for Plaintiff-decedent Jack Sweat and

           has proper capacity to proceed forward with the surviving products liability lawsuit on

           Plaintiff-decedent’s behalf, pursuant to Fed. R. Civ. P. 25(a)(1), stating, “[i]f a party

           dies and the claim is not extinguished, the court may order substitution of the proper

           party. A motion for substitution may be made by any party or by the decedent’s




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           successor or representative.”


       WHEREFORE, counsel for Plaintiff requests this Court grant this motion to substitute

Susan Armstrong as the proper party plaintiff in this action.


Respectfully submitted July 21, 2022.


                                                                /s/ Rhett A. McSweeney______
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                                 CERTIFICATE OF SERVICE
       I hereby certify that a true copy of the attached document was served upon each attorney

of record through the Court’s Electronic Court Filing System.


Dated: July 21, 2022
                                                   /s/ Rhett A. McSweeney
                                                    Rhett A. McSweeney




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